        Case 1:97-cr-05266-AWI Document 738 Filed 06/23/06 Page 1 of 2


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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    TERRY CRANDALL MINCEY,            )       No. CV-F-04-6373 REC
                                       )       (No. CR-F-97-5266 OWW)
10                                     )
                                       )       ORDER GRANTING RESPONDENT'S
11                     Petitioner,     )       EX PARTE MOTION TO UNSEAL
                                       )       ORDER IN NO. CR-F-97-5266
12              vs.                    )       FOR THE SOLE PURPOSE OF
                                       )       PROVIDING COPY TO RESPONDENT
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                     Respondent.     )
                                       )
16                                     )

17        The ex parte motion of the United States to unseal the

18   "ORDER UNDER SEAL DENYING DEFENDANT MINCEY'S SECOND MOTION FOR

19   SUBSTITUTION OF COUNSEL" filed in No. CR-F-97-5266 on November

20   29, 2000 as document no. 441 is granted subject to the following

21   conditions.

22        The Clerk of the Court is authorized to unseal the Order for

23   the sole and limited purpose of providing a copy to the United

24   States.   In all other respects, the Order is to remain sealed.

25        The United States may refer to the Order for the sole

26   purpose of responding to petitioner's application for a

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        Case 1:97-cr-05266-AWI Document 738 Filed 06/23/06 Page 2 of 2


1    certificate of appealability presenting pending before the Ninth

2    Circuit Court of Appeal and, if the certificate of appealability

3    is granted by the Ninth Circuit, for the purpose of responding to

4    the merits of petitioner's appeal of the denial of his motion to

5    vacate, set aside or correct sentence pursuant to 28 U.S.C. §

6    2255.    The United States is precluded from using the Order or any

7    representations made therein for any other purpose or from

8    disclosing the contents of the Order to any other persons or

9    offices.   See Bittaker v. Woodford, 331 F.3d 715 (9th Cir.),

10   cert. denied, 540 U.S. 1013 (2003).

11   IT IS SO ORDERED.

12   Dated:   June 23, 2006                        /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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